  Case 21-10844       Doc 34   Filed 01/10/22 Entered 01/10/22 15:10:36           Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                     )              BK No.:     21-10844
David P Mann                               )
                                           )              Chapter: 13
                                           )
                                                          Honorable David D. Cleary
                                           )
                                           )
               Debtor(s)                   )

                           Order Dismissing Case for Unreasonable Delay

       This matter coming before the Court on Trustee's Motion to Dismiss for Unreasonable Delay,
the Court having heard the facts and the arguments of Counsel,

IT IS HEREBY ORDERED:



This case is dismissed.




                                                       Enter:


                                                                Honorable David D. Cleary
Dated: January 10, 2022                                         United States Bankruptcy Judge

 Prepared by counsel of Movant:
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